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IN THE UNITED STATES DISTRICT COURT
MII)DLE DISTRICT 0F FLORIDA 2817 JUH 27 PH 3= 514
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0111 dilaar¢=deqm'homn'“
Jeffrey Kaplan,
Petitioner,
v.
USPTO Proceeding No. 92060205
Faulding Health Care (IP) g 1 _ _ -_"L:"`
Holdings, Inc. LO ' iq ’ mo ’2§ O'rl A_i m
Registrant.

 

 

 

NOTICE OF SUBPOENA TO CROSS BRANDS MANUFACTURING. LLC
TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

PLEASE TAKE NOTICE that pursuant to Rule 45 of the Federal Rules of Civil
Procedure, Jeffrey Kaplan, by and through his counsel of record, is serving Cross Brands
Manufacturing with a subpoena for a corporate representative with the most knowledge of the

subject matters identified in “Exhibit A” to testify at a deposition

DATED: June 26, 2017 Respectfully submitted,

By; 151 GUsTAVo sARDlNA
Gustavo Sardir’ra
Florida Bar NO. 31 162
LAW OFFICE OF ALEXIS GONZALEZ, P.A.
3162 Commodore Plaza, Suite 315
Coconut Grove, FL 33133
sardina c a jla a.com
Telephone: (305) 223~9999
Counsel for the Petitioner

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CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the foregoing was served on June 26, 2017
t0:

Lori J. Shyavitz
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ihurtado@mccarter.com;
rdesalvo@mccarter.com
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via US first-class mail, postage prepaid, and email.

By: /s/ GUsTAvo sARDINA_
Gustavo Sardir”la

